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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Michigan Motor Technologies, LLC,

      Plaintiff,
                                                No. 22 CV 3804
v.
                                                Judge Lindsay C. Jenkins
Bayerische Motoren Werke AG and
BMW of North America, LLC,

      Defendants.

                          MEMORANDUM OPINION AND ORDER

        Plaintiff MMT Michigan Motor Technologies, LLC (“MMT”) brings suit against

Defendants Bayersche Motoren Werke AG (“BMW AG”) and BMW of North America,

LLC (“BMW NA”) for patent infringement. Currently before the Court are BMW AG’s

motion to dismiss MMT’s Second Amended Complaint [Dkt. 42] and BMW NA’s

motion to dismiss MMT’s Second Amended Complaint [Dkt. 40]. For the following

reasons, both motions are granted in part and denied in part.

        As to BMW AG, MMT has not met its burden to show that BMW AG was

properly served with process, but MMT may seek to do so under the Hague Service

Convention. The Court declines to rule on BMW AG’s remaining Rule 12(b)(6)

arguments before personal jurisdiction has been established, so the motion is

otherwise denied.

        As to BMW NA, MMT’s claims for infringement of the asserted claims of the

‘540, ‘260 and ‘482 patents (Counts I, IV and VI) are dismissed with prejudice. The

asserted claims fail under the Supreme Court’s two-step test for patent eligibility as
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articulated in Alice Corp. v. CLS Bank Int’l, 573 U.S. 208 (2014). Additionally, MMT

has not plausibly alleged that it is entitled to pre-suit damages as to Counts II (the

‘565 patent) or more than sixteen days of damages on its ‘122 patent Count V (the

‘122 patent), but MMT has leave to amend if it can do so consistent with this Order.

I.      Background

        The following facts are drawn primarily from MMT’s governing Second

Amended Complaint [Dkt. 37.] MMT is a Michigan limited liability company with a

place of business in Sylvan Lake, Michigan. Since August 28, 2017, MMT has been

“the owner by assignment” of a portfolio of patents, including six that form the basis

of this action: U.S. Patent Nos. 6,557,540 (“the ʼ540 patent”), 6,581,565 (“the ‘565

patent), 6,581,574 (“the ʼ574 patent”), 6,588,260 (“the ‘260 patent”), 6,736,122 (“the

ʼ122 patents”) and 8,909,482 (“the ‘482 patent”) (collectively, the “Asserted Patents”).

MMT alleges that it is “the rightful owner of the Asserted Patents” and that it holds

“the entire right, tile and interest” in them. [Dkt. 37, ¶ 20.] All of the Asserted Patents

were issued by the United States Patent and Trademark Office (“USPTO”).

        Defendant BMW NA is a Delaware corporation with its principal place of

business in Woodcliff Lake, New Jersey. BMW NA is registered to do business in

Illinois, maintains a certificate of good standing in Illinois, and may be served with

process in Illinois through its registered agent, CT Corporation System. BMW NA is

a wholly-owned subsidiary of Defendant BMW AG. The complaint alleges on

information and belief that “Defendants maintain offices in Schaumburg Illinois,

within this Judicial District,” where over fifty BMW associates work to provide



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support for aftersales, marketing, finance, and other functions. According to the

complaint, the Schaumburg office is owned by BMW NA and is divided between

BMW’s central region office and technical training for BMW and MINI dealers. [Dkt.

37, ¶ 7.]

       Within the last six years, Defendants have made and imported two types of

engines which are the subject of this lawsuit: the BMW 2.0L I4 N26 and the BMW

B48 (together, the “Accused Instrumentalities”). MMT alleges on information and

belief that the Accused Instrumentalities have been installed in the following types

of vehicles: the BMW 1 Series (model years 2016 through 2019); the BMW 2 Series

(2016 to present); the BMW 3 Series (2015 to present); the BMW 4 Series (2016 to

present); the BMW 5 Series (2017 to 2021); the BMW 6 Series (2017 to present); the

BMW 7 Series (2016 to present); the BMW X3 (years unspecified); the BMW X4 (2018

to present); the MINI Cooper S Clubman (2019 to present); the MINI Countryman

(2019 to present); the MINI John Cooper Works GP (2020 to present); the Toyota

Supra (2019 to present); and the Morgan Plus Four Vehicles (2020 to present). [See

Dkt. 37, ¶ 15.] Defendants have also made and imported a third type of engine, the

BMW 2.07 I4 N20 (“HEV Accused Instrumentality”), which on information and belief

has been installed in BMW X5 xDrive40e vehicles (2015 to 2018). [Id., ¶¶ 16-17.]

       MMT brings a six-count complaint alleging that Defendants’ Accused

Instrumentalities and HEV Accused Instrumentality infringe its six patents. Count

I is based on “at least claim 1” of the ‘540 patent, which is entitled “Method of

Calculating a Valve Timing Command for an Engine.” [Dkt. 37, ¶¶ 22, 24 & Ex. 1.]



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Count II is for infringement of “at least claim 7” of the ‘565 patent, “Engine Torque

Controller.” [Id., ¶¶ 28, 30 & Ex. 4.] Count III alleges infringement of “at least claim

1” of the ‘574 patent, “Method of Controlling Fuel Rail Pressure.” [Id., ¶¶ 34, 36 & Ex.

7.] Count IV concerns “at least claim 11” of the ‘260 patent, for a “Electronic Throttle

Disable Control Test System.” [Id. ¶¶ 40, 42 & Ex. 10.] Count V alleges infringement

of “at least claim 2” of ‘122 patent, entitled “Motor Vehicle Engine Synchronization.”

[Id. ¶¶ 46, 48 & Ex. 13.] Finally, Count VI alleges infringement of “at least claim 1”

of the ‘482 patent, which covers a “Device for Measuring Power Consumption and

Performance with Respect to the Environment of a Power-Consuming Unit.” [Id. ¶¶

52, 54 and Ex. 16.] MMT seeks an adjudication that its patents have been infringed,

damages for Defendants’ “past infringement … and any continuing or future

infringement,” as well as interest, costs, expenses, an accounting of all infringing

actions, and an award of reasonable attorneys’ fees. [See id. at 9-10 (prayer for relief).]

The Court discusses the particulars of the patents below, to the extent necessary to

resolve the parties’ motions.

II.      Legal Standards

         Since this is a patent case, unique choice-of-law rules apply. Seventh Circuit

“law governs non-patent issues, while Federal Circuit law governs issues of

substantive patent law.” Medicines Co. v. Mylan Inc., 936 F. Supp. 2d 894, 899 (N.D.

Ill. 2013) (citing In re Spalding Sports Worldwide, Inc., 203 F.3d 800, 803 (Fed. Cir.

2000)). “Federal Circuit law may also govern any substantive or procedural issues

‘intimately involved in the substance of enforcement of the patent right.’” Id. (quoting



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Flex–Foot, Inc. v. CRP. Inc., 238 F.3d 1362, 1365 (Fed. Cir. 2001)). “Regional circuit

law, however, applies to procedural questions not themselves issues of substantive

patent law unless they (1) pertain to patent law, (2) bear an essential relationship to

matters committed by statute to the exclusive control of the Federal Circuit, or (3)

clearly implicate the responsibilities of the Federal Circuit in a field within its

exclusive jurisdiction.” Id. (citing GFI, Inc. v. Franklin Corp., 265 F.3d 1268 (Fed. Cir.

2001)).

      Defendants move to dismiss MMT’s complaint pursuant to Rules 12(b)(5) and

12(b)(6) of the Federal Rules of Civil Procedure. A Rule 12(b)(5) motion is used to

enforce service of process requirements. See Paulsen v. Abbott Laboratories, 368 F.

Supp. 3d 1152, 1163 (N.D. Ill. 2019). The plaintiff “bears the burden to demonstrate

that the district court has jurisdiction over each defendant through effective service.”

Cardenas v. City of Chicago, 646 F.3d 1001, 1005 (7th Cir. 2011). If the Court

determines that the plaintiff has not met that burden and lacks good cause for not

perfecting service, the Court must either dismiss the suit or specify a time within

which the plaintiff must serve the defendant. Fed. R. Civ. P. 4(m); see also United

States v. McLaughlin, 470 F.3d 698, 700 (7th Cir. 2006). The Court’s decision on a

Rule 12(b)(5) motion is “inherently discretionary.” Cardenas, 646 F.3d at 1005 (citing

United States v. Ligas, 549 F.3d 497, 501 (7th Cir. 2008)). In making its

determinations on a Rule 12(b)(5) motion, a court may consider affidavits and other

documentary evidence. See Zausa v. Pellin, 2017 WL 2311232, at *4 (N.D. Ill. May

26, 2017); Dumas v. Decker, 2012 WL 1755674, at *2 (N.D. Ill. May 16, 2012).



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       A Rule 12(b)(6) motion challenges the sufficiency of the pleadings. “To survive

a motion to dismiss under Rule 12(b)(6), plaintiff’s complaint must allege facts which,

when taken as true, ‘plausibly suggest that the plaintiff has a right to relief, raising

that possibility above a speculative level.’” Cochran v. Illinois State Toll Highway

Auth., 828 F.3d 597, 599 (7th Cir. 2016) (quoting EEOC v. Concentra Health Servs.,

Inc., 496 F.3d 773, 776 (7th Cir. 2007)). The Court “accept[s] all well-pleaded facts as

true and draw all reasonable inferences in plaintiff’s favor.” Id. at 600 (citing Tamayo

v. Blagojevich, 526 F.3d 1074, 1081 (7th Cir. 2008)). The Court reads the complaint

and assesses its plausibility as a whole. See Atkins v. City of Chicago, 631 F.3d 823,

832 (7th Cir. 2011). Written instruments that are attached to the complaint are

considered to be “a part of the pleading for all purposes.” Fed. R. Civ. P. 10(c). The

Court may consider documents attached to a motion to dismiss if they are “(1)

referenced in the plaintiff’s complaint, (2) concededly authentic, and (3) central to the

plaintiff’s claim.” Financial Fiduciaries, LLC v. Gannett Co., Inc., 46 F.4th 654, 663

(7th Cir. 2022).

III.   Analysis

       A.    BMW AG’s Motion to Dismiss [Dkt. 42]

       BMW AG moves to dismiss the complaint for ineffective service of process as

well as failure to state a claim. The Court considers the threshold issue of service

first. MMT filed this lawsuit on July 22, 2022 and a summons for both Defendants

was issued that day. MMT attempted to serve BMW AG with process on three

occasions, only one of which is relevant to the Court’s analysis here. [See Dkt. 43 at



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7.] 1 On September 2, 2022, MMT’s process server went to BMW NA’s facility in

Schaumburg, Illinois and handed the summons to a BMW NA employee with the title

of regional technical training manager (“Training Manager”). The Training Manager

received the documents. [Id. at 8.] BMW AG argues that service was improper under

governing Illinois law because “neither BMW NA nor the Training Manager who was

served is an officer, registered agent, or other agent of BMW AG for purposes of

service.” [Id. at 9.]

       Federal Rule of Civil Procedure 4(h) governs service of process on a corporation.

As is relevant here, Rule 4(h)(1)(A) authorizes service of “a ‘domestic or foreign

corporation’ in a judicial district of the United States” “in the manner prescribed by

Rule 4(e)(1) for serving an individual.” Rule 4(e)(1), in turn, provides that, unless

federal law provides otherwise, an individual within a judicial district of the United

States may be served by “following state law for serving a summons in an action

brought in courts of general jurisdiction in the state where the district court is located

or where service is made”—here, Illinois. Under Illinois’ long-arm statute, “[a] private

corporation may be served (1) by leaving a copy of the process with its registered

agent or any officer or agent of the corporation found anywhere in the State; or (2) in

any other manner now or hereafter permitted by law.” 735 ILCS 5/2-204 (emphasis

added); see also Taeb v. Ritchey Const. Co., 602 N.E.2d 489, 491 (Ill App. Ct. 1992)

(“The Code of Civil procedure clearly permits a party to serve any agent of a private




1     MMT does not dispute that its attempts to effect service through the Hague
Convention and under Delaware law were ineffective.
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corporation found in Illinois, as well as the corporation’s registered agent for service

of process.”).

       Illinois’ long-arm statute has been interpreted to authorize service of process

on a foreign corporation through its domestic subsidiary in Illinois, making the

subsidiary the parent’s “involuntary agent” for service of process. See Schlunk v.

Volkswagenwerk Aktiegesellschaft, 503 N.E.2d 1045, 1053 (Ill. App. Ct. 1986), aff’d,

Volkswagenwerk Aktiegesellschaft v. Schlunk, 486 U.S. 694, 706 (1988) (“the Illinois

long-arm statute authorized Schlunk to serve [parent company] VWAG by

substituted service on [subsidiary] VWoA, without sending documents to Germany”).

When process is served using this method, the Hague Service Convention does not

apply. Schlunk,486 U.S. at 707 (“Where service on a domestic agent is valid and

complete under both state law and the Due Process Clause, our inquiry ends and the

Convention has no further implications.”).

       Therefore, we start with Illinois law to determine whether service on BMW

NA’s Training Manager satisfied 735 ILCS 5/2-204. This involves two questions:

First, whether the Training Manager was an “agent” of BMW NA, and second,

whether BMW NA is in turn an “agent” of BMW AG. The Court starts and ends with

the first question, which is dispositive due to MMT’s failure to establish that the

Training Manager is an “agent” of either BMW NA or BMW AG as that term is used

in the Illinois long-arm statute.

       Under Illinois law, “when a corporation is sued, a return [of service of process]

is not conclusive as to the fact of agency.” MB Financial Bank, N.A. v. Ted & Paul,



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LLC, 990 N.E.2d 764, 775 (Ill. App. 2013). Instead, “[f]or service of process on a

corporation to be effectively made upon an agent of defendant, such agent must have

actual authority to accept service on behalf of the corporation.” Dei v. Tumara Food

Mart, Inc., 941 N.E.2d 920, 925 (Ill. App. Ct. 2010). Although “there appears to be

some disagreement among Illinois appellate courts as to which party has the burden

of proof on the presence or absence of the agency relationship,” the large “majority of

courts have held that the burden is on the plaintiff.” Id.; see also In re Subpoena To

Huawei Technologies Co., Ltd., 720 F. Supp. 2d 969, 972 (N.D. Ill. 2010) (“The party

seeking to effectuate service bears the burden of establishing the agency

relationship.” (citing Chung v. Tarom, S.A., 990 F. Supp. 581, 583-84 (N.D. Ill.

1998))); see also Akari Imeji Co. v. Qume Corp., 748 F. Supp. 588, 591 (N.D. Ill. 1990)

(citing Slates v. Int’l House of Pancakes, Inc., 413 N.E.2d 457, 463 (Ill. App. Ct. 1980));

see generally Cardenas, 646 F.3d at 1005 (“The plaintiff bears the burden to

demonstrate that the district court has jurisdiction over each defendant through

effective service.”); NBA Properties, Inc. v. Partnerships & Unincorporated Assn’s

Identified in Schedule A, 549 F. Supp. 3d 790, 793 (N.D. Ill. 2021).

       “[W]hether an individual served is an agent for purpose of service is a factual

question,” which depends on whether the individual “understood the purport of the

service of summons” and her “duty to deliver the summons to her employer.” Island

Terrace Apartments v. Keystone Service Co., 341 N.E.2d 41, 44 (Ill. App. Ct. 1975)

(internal citations and quotation marks omitted); Esquivel v. DOC Able’s Auto Clinic,

Inc., 2016 WL 1463768, at *3 (N.D. Ill. Apr. 14, 2016); Flava Works, Inc. v. Does 1-26,



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2013 WL 1751468, at *5 (N.D. Ill. Apr. 19, 2013); compare Island Terrace, 341 N.E.2d

at 44 (person who had been employed by corporation as a clerk for six years, was

employed only to receive telephone complaints, and did not understand the import of

legal summons was not a proper agent of corporation for service of process), with

Megan v. L. B. Foster Co., 275 N.E.2d 426, 427-28 (Ill. App. Ct. 1971) (“service upon

an intelligent clerk of a company who acts as a receptionist and who understood the

purport of the service of summons” complied with statute governing service on

corporation by leaving copy of process with its agent).

      BMW AG argues that the Training Manager cannot be considered its “agent”

under 735 ILCS 5/2-204 because “the Training Manager is not authorized to accept

service on behalf of either [BMW] entity, and it is clear he did not understand what

it means to be an agent of BMW NA for the purposes of accepting legal papers.” [Dkt.

43 at 13.] In support, BMW AG cites to a declaration from one of its outside attorneys,

Brian Biggs, rather than to a declaration from the Training Manager. Biggs does not

identify the Training Manager, but Biggs states “on information and belief” that “the

Schaumburg facility is not authorized to accept service of process on behalf of BMW

NA.” [Dkt. 44, ¶ 6.] Biggs also asserts that the Training Manager “was not authorized

to accept service on behalf of BMW NA” and “[t]he Training Manager stated that he

did not learn the name or company of the process server, and the process server did

not state on whose behalf he or she was providing the documents.” [Id., ¶ 7.] In

response, MMT maintains that the Training Manager should be considered BMW

NA’s agent because he was an adult; he did not refuse to accept the complaint and



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summons when served; “as a Manager [he] understood the import of the summons”;

and he “apparently delivered the served summons to his employer, BMW NA, and

consequently BMW AG became aware of the summons because BMW AG filed the

instant Motion to Dismiss.” [Dkt 53, at 7.]

      Based on the sparse record provided, the Court concludes that MMT has not

met its burden of establishing that the Training Manager is BMW NA’s or BMW AG’s

agent. A finding of agency under Illinois law requires more than simply that the

person who accepted service was an adult and did not refuse service. The employee

must also “underst[an]d the purport of the summons” and her “duty to deliver the

summons to her employer.” Island Terrace, 341 N.E.2d at 44 (internal citations and

quotation marks omitted). [See also Dkt. 53 at 7; Dkt. 58 at 9-10 (parties’ briefs

agreeing on the proper legal standard).]

      MMT’s statements that since the Training Manager was a manager he

“understood the import of the summons,” as well as MMT’s assumption that the

Training Manager delivered the summons to his employer, are entirely speculative.

There is no evidence BMW NA Training Managers in Illinois are designated or

expected by BMW NA to receive and accept service for either BMW entity, or that

they are trained concerning how to handle process servers. BMW AG does not present

a declaration from Biggs affirmatively denying that the Training Manager

understood the import of the summons or explaining what he did with it when he

received, but MMT has the burden of proof. MMT did not seek discovery concerning

personal jurisdiction or, more specifically, whether the Training Manager was BMW’s



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agent. See Route 31, LLC v. Collision Centers of America, 2015 WL 9594474, at *4

(Ill. App. Dec. 30, 2015) (plaintiff did not meet burden of showing employee served

with process was defendant’s “agent” where plaintiff’s and defendant’s affidavits

“painted starkly different pictures” of employee’s status and plaintiff did not seek an

evidentiary hearing). Further, there is no evidence concerning how the summons

made its way from the Training Manager to BMW AG. Dei, 941 N.E.2d at 926 (where

employee who received summons “left it on a table, unopened, as he did with all other

papers and documents he received while at work,” this was “further evidence that he

did not understand their import”). 2

        MMT claims that “other courts who have considered whether substitute service

on BMW AG through BMW NA is proper have come to the same conclusion” that such

service is proper. In support, MMT cites a single unpublished slip opinion from the

Eastern District of Texas, Arigna Technology Ltd. v. Bayerish Motoren Werke AG, No.

2:21-CV-00172-JRP (E.D. Tex. Jan. 20, 2022). Although MMT claims that Arigna is

“virtually identical” to its factual situation [Dkt. 53 at 8], it omits a critical fact: that

court was interpreting a California statute for service of process, which specifically

authorized service in California upon a foreign corporation via its “general manager

in [the] state.” [Dkt. 53-1 at 9 (citing Cal. Corp. Code § 2110).] Arigna, therefore, tells


2      An affidavit from the Training Manager himself would have been the strongest
evidence. And Biggs’ declaration “on information and belief” would not suffice at summary
judgment because personal knowledge is required. See USA Gymnastics v. Liberty Ins.
Underwriters, Inc., 27 F.4th 499, 513 (7th Cir. 2022). But MMT has not objected, so the Court
views Biggs as “swearing that he … makes the averments in good faith upon his … best
information and bona fide belief,” 3 Am Affidavits § 15. Jur. 2d, and the Court looks at the
presence of hearsay in determining how to weigh Biggs’ affidavit. See Robinson Engineering
Co. Pension Plan and Trust v. George, 223 F.3d 445, 451 (7th Cir. 2000).
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us nothing about whether BMW AG’s Training Manager should qualify as its “agent”

under Illinois’ long-arm statute and the case law interpreting that term. Since MMT

has not established that the Service Manager should be considered an “agent” of

BMW NA or BMW AG under 735 ILCS 5/2-204, the Court finds it unnecessary to

proceed with the 13-factor analysis for determining whether BMW AG should be

considered BMW NA’s “agent” under 735 ILCS 5/2-204. See Chung, 990 F. Supp. at

584; Akari, 748 F. Supp. at 592–93.

      That leaves the question of the appropriate remedy. MMT requests that

“should the Court decide to dismiss BMW AG,” it should “enter an order consistent

with MMT’s proposed stipulation to dismiss BMW AG” on the conditions that (1) “to

the extent that liabilities are found with respect to BMW AG, BMW NA stipulates to

such liabilities, including damages”; and (2) “BMW AG agrees that for the purposes

of discovery in this matter, all information, witnesses, and documents in the

possession, custody, or control of BMW AG, if any, shall be deemed in the possession,

custody, or control of BMW NA, but only to the extent they may be relevant to this

litigation, and they are not otherwise available from BMW NA.” [Dkt. 53 at 15-16.]

MMT points to no authority that would authorize the Court to impose this stipulation

on BMW AG over its objection. A stipulation is an agreement between the parties,

not something the Court can require the parties to accept. Even if the Court had

authority to impose a stipulation, MMT’s failure to properly serve BMW AG with

service of process prevents the Court from exercising personal jurisdiction over it.




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BNSF Ry. Co. v. Tyrrell, 581 U.S. 402, 409 (2017) (“a basis for service of a summons

on the defendant is prerequisite to the exercise of personal jurisdiction”).

      Finally, MMT requests as another alternative that it “be given an opportunity

to attempt service under the Hague convention if necessary.” [Dkt. 53 at 16.] BMW

AG is amenable to this request; it “simply asks that MMT comply with the Hague

Convention and complete service through proper channels.” [Dkt. 58 at 11.] Since the

parties agree on the ultimate point that MMT should be allowed to attempt service

on BMW AG through the Hague Convention, the Court will exercise its authority to

extend the time within which MMT must serve BMW AG. See Fed. R. Civ. P. 4(m);

McLaughlin, 470 F.3d at 700 (explaining that under Rule 4(m), “if good cause for the

delay is shown, the court must extend the time for service, while if good cause is not

shown, the court has a choice between dismissing the suit and giving the plaintiff

more time”); Paulsen, 368 F. Supp. 3d at 1163. This will be the Order.

      B.     BMW NA’s Motion to Dismiss [Dkt. 40]

             1.     Patent Eligibility

      BMW NA moves to dismiss counts I, IV and VI of the Second Amended

Complaint on the basis that the asserted claims of the ‘540, ‘260 and ‘482 patents are

unpatentable under 35 U.S.C. § 101. MMT argues generally that a Rule 12(b)(6)

motion is an “improper vehicle” for patent eligibility determinations since patents

granted by the USPTO are presumptively valid and MMT’s patents have been “duly

and legally issued” by the USPTO. [Dkt. 54 at 9-10.] But “courts are not required to

defer to Patent Office determinations as to eligibility,” Sanderling Management Ltd.



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V. Snap Inc., 65 F.4th 698, 705 (Fed. Cir. 2023), and “[p]atent eligibility has in many

cases been resolved on motions to dismiss or summary judgment.” Berkheimer v. HP

Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018). At the motion to dismiss stage, claims may

be held patent-ineligible “based on intrinsic evidence from the specification without

need for ‘extraneous fact finding outside the record.’” Secured Mail Solutions LLC v.

Universal Wilde, Inc., 873 F.3d 905, 912-13 (Fed. Cir. 2017).

      According to BMW NA, the asserted claims of the ‘540, ‘260 and ‘482 patents

are unpatentable because they are directed to abstract ideas—mathematical

calculations and formulations—and do not present any inventive concepts. Section

101 of the Patent Act provides that “[w]however invents or discovers any new and

useful process, machine, manufacture, or composition of matter, or any new and

useful improvement thereof, may obtain a patent therefor, subject to the conditions

and requirements of this title.” 35 U.S.C. § 101; see also Weisner v. Google LLC, 51

F.4th 1073, 1081 (Fed. Cir. 2022); SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161,

1166, 67 (Fed. Cir. 2018). “[A]n important implicit exception” to this provision is that

“[l]aws of nature, natural phenomena, and abstract ideas are not patentable.” Alice

Corp. v. CLS Bank Int’l, 573 U.S. 208, 216 (2014). Claims “directed to the use of

mathematical calculations” are an example of abstract ideas. In re Board of Trustees

of Leland Stanford Junior University, 991 F.3d 1245, 1250 (Fed. Cir. 2021). “Courts

have long held that mathematical algorithms for performing calculations, without

more, are patent ineligible under § 101.” Id.; see also Parker v. Flook, 437 U.S. 584,

595 (1978) (“[I]f a claim is directed essentially to a method of calculating, using a



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mathematical formula, even if the solution is for a specific purpose, the claimed

method is nonstatutory.” (internal citation omitted)); Gottschalk v. Benson, 409 U.S.

63, 71–72 (1972) (finding claims patent ineligible because they “would wholly pre-

empt the mathematical formula and in practical effect would be a patent on the

algorithm itself”); In re Schrader, 22 F.3d 290, 294 (Fed. Cir. 1994) (a data gathering

step of entering bids was “insufficient to impart patentability to a claim involving the

solving of a mathematical algorithm”).

       In Alice, the Supreme Court established a two-step test for examining patent

eligibility under § 101. In step one, the Court “determine[s] whether the claims at

issue are directed to ... [a] patent-ineligible concept.” Alice, 573 U.S. at 217. If so, the

Court moves to step two and “consider[s] the elements of each claim both individually

and ‘as an ordered combination’ to determine whether the additional elements

‘transform the nature of the claim’ into a patent-eligible application.” Id. “The first

stage of the Alice inquiry looks at the ‘focus’ of the claims, their ‘character as a whole’;

and the second stage of the inquiry (where reached) looks more precisely at what the

claim elements add—specifically, whether, in the Supreme Court’s terms, they

identify an ‘inventive concept’ in the application of the ineligible matter to which (by

assumption at stage two) the claim is directed.” SAP, 898 F.3d at 1166-67 (quoting

Electric Power Group, LLC v. Alstom S.A., 830 F.3d 1350, 1353-56 (Fed. Cir. 2016)).

                     a.     Alice Step 1

       The Federal Circuit approaches the first step of the “inquiry by asking what

the patent asserts to be the focus of the claimed advance over the prior art.” Yu v.



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Apple Inc., 1 F.4th 1040, 1043 (Fed. Cir. 2021). In conducting this inquiry, the Court

“must focus on the language of the [a]sserted [c]laims themselves, considered in light

of the specification.” Id. (internal quotation marks and citations omitted); see also

TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1292 (Fed. Cir. 2020). At step 1 the Court

may also examine “whether the claimed advance alleged in the written description

demonstrates an improvement of a technological process or merely enhances an

ineligible concept.” Board of Trustees of Leland Stanford Junior University, 991 F.3d

at 1250-51 (citing Athena Diagnostics, Inc. v. Mayo Collaborative Servs., LLC, 915

F.3d 743, 750 (Fed. Cir. 2019)). In conducting that inquiry, the focus is on “the

language of the [a]sserted [c]laims themselves, considered in light of the

specification.” Yu, 1 F.4th at 1043. Claims that are “directed to a result or effect that

itself is the abstract idea and merely invoke[s] generic processes and machinery,”

rather than “a specific means or method that improves the relevant technology,” do

not satisfy Alice Step 1. Id.

      In McRO, Inc. v. Bandai Namco Games America Inc., 837 F.3d 1299 (Fed. Cir.

2016), the Federal Circuit provided some useful context for its Alice framework:

             In Alice, the Court applied some of its § 101 jurisprudence that
      preceded the two-step framework, including [Parker v. Flook, 437 U.S.
      584 (1978)] and [Diamond v. Diehr, 450 U.S. 175 (1981)]. In Flook,
      claims requiring the use of a specific equation were unpatentable
      because they “simply provide[d] a new and presumably better method of
      calculating alarm limit values.” Flook, 437 U.S. at 594–95. The
      mathematical “formula itself was an abstract idea” and “the computer
      implementation was purely conventional” because the ‘use of computers
      for ‘automatic monitoring-alarming’ was ‘well known’.” Alice, 573 U.S.
      at 222 (quoting Flook, 437 U.S. at 594). “Flook stands for the proposition
      that the prohibition against patenting abstract ideas cannot be
      circumvented by attempting to limit the use of [the idea] to a particular

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      technological environment.” Id. (quoting Bilski v. Kappos, 561 U.S. 593,
      610–611) (internal quotation marks omitted).

             The claims in Diehr, in contrast, were patentable. The claims
      likewise “employed a ‘well-known’ mathematical equation.” Alice, 573
      U.S. at 223 (quoting Diehr, 450 U.S. at 177). A computer performed the
      calculations as part of a broader process for curing rubber, but “the
      process as a whole [did] not thereby become unpatentable subject
      matter.” Diehr, 450 U.S. at 187. Instead, the Court looked to how the
      claims “used that equation in a process designed to solve a technological
      problem in ‘conventional industry practice.’ “ Alice, 573 U.S. at 223
      (quoting Diehr, 450 U.S. at 178). When looked at as a whole, “the claims
      in Diehr were patent eligible because they improved an existing
      technological process, not because they were implemented on a
      computer.” Alice, 573 U.S. at 223.

McRO, 837 F.3d at 1312-13 (cleaned up). In McRO, the court determined that a claim

in a patent for automatically animating lip synchronization and facial expressions of

three-dimensional animated characters was not directed to an abstract idea, and did

not merely invoke generic processes and machinery, where the claim was focused on

a specific improvement in computer animation. The claimed improvement allowed

“computers to produce ‘accurate and realistic lip synchronization and facial

expressions in animated characters’ that previously could only be produced by human

animators,” a result that was “realized by improving the prior art through ‘the use of

rules, rather than artists, to set the morph weights and transitions between

phonemes.’” Id. at 1313.

      With these examples in mind, the Court examines the three asserted claims

that BMW NA challenges in its motion to dismiss.

      The ‘540 patent: The ‘540 patent covers “[a] method to calculate timing

commands for an engine with variable valve timing” and contains 16 claims. [Dkt.



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37-1 at 2 (abstract).] According to the “background” section of the patent, “[i]n

gasoline engines of most vehicles, each cylinder of the engine cycles through four

unique stages.” [Id. at 6.] To go through these stages, the engine’s inlet valves and

exhaust valves need to open and close in particular sequence and the engine speed

dictates how fast this needs to happen. [Id.] The patent background explains that

“[m]odern research … has shown that fuel efficiency and power output of [an] engine

may be optimized with an adjustment of the valve timing for a particular load on the

engine.” [Id.] While “[s]ome variable valve timing engines have been proposed, … the

theoretical fuel efficiency and output power of these engines have not yet been

reached.” [Id.] “[T]he preferred method” of the invention covered by the ‘540 patent

was “specifically created to be performed by a control unit to calculate valve timing

commands for an engine with electromagnetic valve actuators,” but may also “be

performed by any suitable device to calculate valve timing commands for any suitable

engine with any suitable variable timing valves.” [Id.]

      Claim 1 of the ‘540 patent is for “[a] method for calculating a valve timing

command for an engine of a vehicle, comprising: [1]obtaining an engine performance

command; [2] receiving an environmental conditions signal; [3] determining a valve

feedforward term based on the engine performance command and the environmental

conditions signal; [4] receiving an engine performance feedback; [5] calculating a

valve feedback term based on the engine performance command and the engine

performance feedback; and [6] calculating a valve timing command based on the valve

feedforward term and the valve feedback term.” [Id. at 7.] The actions of determining



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the speed of the opening and closing of the inlet and exhaust valves are accomplished

by taking data obtained from various sensors, then–using “preferably” a control unit

but alternatively a “suitable separate device”–comparing the sensor data to other

sensor data or to a “look-up” table that has been “optimized” with timing information

for fuel efficiency, power output, and engine emissions. [Id. at 6-7.]

      The ‘540 patent, by its title, is directed at a method of calculation, which is an

abstract concept. Three of its principal actions consist of obtaining data from signals

to be used in the calculations, and three consist of performing the calculations. MMT

compares the asserted method claim of the ‘540 patent (as well as the asserted

method claims of the ‘260 and ‘482 patents) to Thales Visionix Inc. v. United States,

850 F.3d 1343 (Fed. Cir. 2017). MMT describes the invention in that case as “new

system of inertial sensors that directly measure the gravitational field of a platform

frame and allow positional information to be calculated without reference to vehicle

attitude or position of the moving platform.” [Dkt. 54 at 12.] The “sensors measured

position and orientation more accurately than the prior art.” [Id.] MMT argues that

here, as in Thales Visionix, the asserted method claim of the ‘540 patent is “patent

eligible under § 101 by virtue of the integration of sensor and meter measurements

to enhance the efficiency of the process and the platform performing the recited

limitations of the method claims.” [Id.]

      Thales Visionix shows why the claimed method of the ‘540 patent does not

satisfy Alice step one. The Federal Circuit explained that the claims at issue were

“not directed to an abstract idea” because they “specify a particular configuration of



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inertial sensors and a particular method of using the raw data from the sensors in

order to more accurately calculate the position and orientation of an object on a

moving platform.” Thales Visionix, 850 F.3d at 1349. “Far from claiming the

equations themselves, the claims seek to protect only the application of physics to the

unconventional configuration of sensors as disclosed.” Id. Therefore, the claims were

“not directed to an abstract idea” and survived Alice step 1. Id.

      Unlike the plaintiff in Thales Visionix, MMT does not allege any facts

suggesting that it is using an unconventional configuration of sensors or using

sensors in a non-conventional manner to obtain inputs for its mathematical

equations. The claimed method does not require a particular configuration of sensors,

or that a particular kind of sensors be used. Stripped of the steps that simply involve

taking an input (from either an existing, known sensor or “any suitable device”), all

that is left is the mathematical equation, which is performed by comparing the sensor

data to other sensor data or to a “look-up” table that has been “optimized” with timing

information for fuel efficiency, power output, and engine emissions. [Dkt. 37-1 at 6-

7.] Therefore, the Court agrees with BMW NA that the focus of the ‘540 patent’s

method claim is the abstract idea of the calculation—a process “for which computers

are invoked merely as a tool.” Braemar Manufacturing, LLC v. ScottCare Corp., 816

Fed. Appx. 465, 469-70 (Fed. Cir. 2020). Even if the claim is “drawn to specific

technological improvements,” “nothing in the claims requires more than generic data

manipulation” such as “execution of a mathematical formula or selection from a

lookup table.” Id. (agreeing with defendant that patent describing “methods for



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selectively transmitting or discarding data acquired from a cardiac signal based on

relevance” were “directed to the abstract idea of collecting, classifying, and filtering

data” “[a]nd because the claims merely implement those steps using conventional

computer technology … they do not contain an inventive concept”).

      The ‘482 patent: The ‘482 patent discloses a “device for measuring power

consumption and performance relative to the environment of a power-consuming

unit” and contains 16 claims. [Dkt. 37-16 at 2.] The complaint alleges on information

and belief that “Defendants have directly infringed at least claim 1 of the ‘482 patent

by making, using, selling, importing, offering for sale, providing, practicing, and

causing to be used the HEV Accused Instrumentality that infringes the patented

device,” [Dkt. 37, ¶ 54], and also “have induced and continue to induce others to

infringe at least claim 1 of the ‘482 patent.” [Id., ¶ 57.] Though the complaint

references claim 1 (a device claim covering “[a] device for measuring power

consumption and performance with respect to the environment of a power-consuming

unit comprising a data introduction module …”), the parties both assume in their

briefs that MMT is asserting a violation of claim 9, a method claim. The Court

therefore focuses on Claim 9 by the apparent agreement of the parties to treat that

claim as representative of the claims in the ‘482 patent.

      Claim 9 is “a method of determining an ecological parameter by processor

comprising: [1] receiving a first power consumption value of a power consuming unit;

[2] receiving a waste production data value, [3] determining an ecological parameter

based on the first power consumption value and the waste production data value, and



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[4] outputting the determining ecological parameter for display on a display screen.”

[Dkt. 1-11 at 7.] The claim includes two inputs, an output, and the calculation of an

“ecological parameter,” which “is determined as a percentage based on an algorithm”

specified in the ‘482 patent. [Id.] The “ecological parameter” looks at a “comparison

between the basic actual power flow required by the user for their comfort” in a home,

office building, or other structure with “the normal consumptions of the current

regulations (e.g. UNE, ISO standards, etc.) and/or those recommended by official

administrations of the pace and/or statistic data of normal power consumptions and

wastes.” [Id. at 5.]

       MMT maintains that the ‘482 Patent’s “disclosure of the use of flow meters,

electronic meters and measuring scales for measuring power consumption and

performance with respect to the environment of a power-consuming unit remove

Claim 9 from an abstract idea of ‘mathematical calculations’ and is ‘directed to a new

and useful technique for using sensors’ to more efficiently determine power

consumption and performance.” [Dkt. 54 at 13 (quoting Thales Visionix, 850 F.3d at

1348-49).] The Court is not convinced that this is sufficient to satisfy Alice step 1.

MMT never disputes or grapples with BMW NA’s argument that the patent

specifications simply provide for using readings from conventional sensor

components—flow meters, electronic meters and measuring scales—to perform math.

Unlike Thales, Diehr, and McRO, the claimed improvement is in the “selection and

mathematical analysis of information”—a wholly abstract idea—rather than

anything in the physical realm. Thales, 850 F.3d at 1345.



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        The ‘260 patent: The ‘260 patent covers “[a] method for testing the integrity

of an electronic throttle disable function” for internal combustion engines and

includes 17 claims. [Dkt. 37-10 at 2 (abstract).] The background art section of the

patent explains that an electronic throttle control provides improved throttle control

and the efficient introduction of fuel air mixtures into the engine cylinders. [Id. at 5.]

“The electronic throttle control includes a throttle control unit that positions the

throttle plate by an actuator controlled by a microprocessor using position feedback

sensors. The micro controllers (or micro processors) are often included as part of a

powertrain electronic control that can adjust the fuel and air intake and ignition in

response to changing conditions of vehicle operations as well as operator control.”

[Id.]

        The purposes of the invention are (1) “to provide an improved and reliable

electronic throttle disable control test system”; (2) “to test the electronic throttle

driver disable function”; and (3) “to not intrude upon normal throttle operations.” [Id.

at 5 (summary of the invention).] The complaint alleges on information and belief

that “Defendants have directly infringed at least claim 11 of the ‘260 patent by

making, using, importing, and practicing, the Accused Instrumentality that infringes

the patented apparatus …” [Dkt. 37, ¶ 42.] Claim 11 covers: “A method for testing

integrity of an electronic throttle plate driver disable function controlled by a

powertrain control module (PCM) comprising the steps of: [1] disabling said driver;

[2] determining a first throttle position value with said driver disabled; [3]

commanding full closing voltage; [4] determining a second throttle position value at



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said full closing voltage; [5] comparing said first and second throttle position values;

and [6] engaging failure mode management when said first and second throttle

position values are significantly different.” [Dkt. 37-10 at 7.]

      MMT argues that the ‘260 patent’s “disclosure of the use of driver electronics

and position sensor voltages for testing integrity of an electronic throttle plate driver

disable function removes Claim 11 from an abstract idea of ‘mathematical

calculations’ alleged by Defendant.” [Dkt. 54 at 13.] But this is not enough to satisfy

Alice step 1. “[C]laims focused on collecting information, analyzing it, and displaying

certain results of the collection and analysis are directed to an abstract idea.” SAP,

898 F.3d at 1167. Claim 11 of the ‘260 patent is directed to determining values (i.e.,

determining a first and second throttle position in different states), calculating the

differences between those values, and directing a result (i.e., engaging failure mode

or not) based on that calculation. The calculation is a comparison of values: “[t]he

throttle position voltage is … compared to a predetermined default position voltage”

to determine “[i]f there is a significant difference” to allow the user “to detect the

voltage difference between default and closed stop.” [Dkt. 37-10 at 7.]

      As far as the Court can determine from the complaint, the patent language,

and MMT’s brief, the “claimed advance alleged in the written description” of claim 9

of the ‘260 patent is not “an improvement of a technological process” (such as the

unique arrangement of sensors in Thales Visionix) but an improvement to “the

selectional and mathematical analysis of information,” which is a wholly abstract

idea not protected under Alice Step 1. Thales Visionix, 850 F.3d at 1345. The method



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steps are performed by, and the complementary system claims recite, known devices

using known means to set up the test conditions. For instance, “step [a] where the

powertrain control module (‘PCM’) disables the drive electronics responsible for

actuating motor 30”; “The sequence then proceeds to step 48 where PCM 16

commands full closing motor voltage”; and “PCM 16 waits approximately 30

milliseconds and then records the resulting throttle position sensor voltage.” [Dkt. 41

at 7]; see also SAP, 898 F.3d at 1168 (claimed method did not satisfy Alice step 1

where “the focus of the claims is not a physical-realm improvement but an

improvement in wholly abstract ideas—the selection and mathematical analysis of

information, followed by reporting or display of the results”).

      For these reasons, MMT’s arguments fail at Alice step 1.

                    b.     Alice Step 2

      Alice step two “is like a lifeline: it can rescue and save a claim that has been

deemed, at step one, directed to non-statutory subject matter.” Board of Trustees of

Leland Stanford Junior University, 991 F.3d at 1251. Under step 2, “we ‘consider the

elements of each claim both individually and as an ordered combination to determine

whether the additional elements transform the nature of the claim into a patent-

eligible application.’” Weisner, 51 F.4th at 1081 (quoting Alice, 573 U.S. at 217). “Step

two is ‘a search for an inventive concept—i.e., an element or combination of elements

that is ‘sufficient to ensure that the patent in practice amounts to significantly more

than a patent upon the [ineligible concept] itself.’” Id.; see also Mayo Collaborative

Services v. Prometheus Laboratories, Inc., 566 U.S. 66, 72 (2012). “To save a patent



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at step two, an inventive concept must be evident in the claims.” Recognicorp, LLC v.

Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017). “If a claim’s only ‘inventive

concept’ is the application of an abstract idea using conventional and well-understood

techniques, the claim has not been transformed into a patent-eligible application of

an abstract idea.” BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1290-91 (Fed.

Cir. 2018). Thus, for example, claims that “amount to ‘nothing significantly more’

than an instruction to apply [an] abstract idea . . . using some unspecified, generic

computer” cannot make an abstract idea patent-eligible. Alice, 573 U.S. at 225-26;

see also Secured Mail Solutions, 873 F.3d at 911 (“Merely reciting the use of a generic

computer or adding the words ‘apply it with a computer’ cannot convert a patent-

ineligible abstract idea into a patent-eligible invention.”).

      “The question of whether a claim element or combination of elements is well-

understood, routine and conventional to a skilled artisan in the relevant field is a

question of fact.” Berkheimer, 881 F.3d at 1368. And “whether a claim recites patent

eligible subject matter is a question of law which may contain underlying facts.” Id.

“Patent eligibility has in many cases been resolved on motions to dismiss or summary

judgment.” Id. “[T]he invocation of ‘already-available computers that are not

themselves plausibly asserted to be an advance ... amounts to a recitation of what is

well-understood, routine, and conventional.’” Customedia Techs., LLC v. Dish

Network Corp., 951 F.3d 1359, 1366 (Fed. Cir. 2020); see also Sanderling

Management, 65 F.4th at 705.




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      MMT has not identified any “factual considerations about the state of the art

[that] preclude a decision at the pleadings stage.” Sanderling Management, 65 F.4th

at 705. In response to the motion to dismiss, MMT argues that Defendant “fails to

consider the ordered combination of the claim limitations resulting in the inventive

concept found in the non-conventional and non-generic arrangement of known,

conventional pieces.” [Dkt. 54 at 14.] But MMT points to no specific allegations in the

complaint or the claim limitations that plausibly suggest that the claimed methods

in practice amounts to significantly more than the mathematical calculations

themselves, using data inputs derived from conventional and well-understood

sensors. The court cannot infer an inventive concept without specific allegations that

are “more than simply label[ing] ... techniques as inventive.” Cellspin Soft, Inc. v.

Fitbit, Inc., 927 F.3d 1306, 1318 (Fed. Cir. 2019).

      The ‘540 patent: MMT argues that “[b]y receiving an environmental

conditional signal and engine performance feedback from sensors and determining a

valve feedforward term based on the engine performance command and the

environmental conditions signal,” Claim 1 of the ‘540 patent “provides a novel and

unconventional arrangement and use of known elements in a novel fashion.” [Dkt. 54

at 15.] MMT parrots key words like “novel” and “unconventional,” but there are no

factual allegations from which one could plausibly infer that the method claimed in

the ‘540 patent is inventive. The method of the ‘540 patent was “specifically created

to be performed by a control unit to calculate valve timing commands for an engine

with electromagnetic valve actuators,” but may also “be performed by any suitable



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device to calculate valve timing commands for any suitable engine with any suitable

variable timing valves.” [Dkt. 37-1 at 6-7 (description of the preferred methods;

cleaned up).] The patent references a generic device that is not itself “plausibly

asserted to be an advance.” Sanderling Management, 65 F.4th at 705. The method is

specified at a high level of generality using generic functional language (“obtaining

an engine performance command”, “receiving an environmental conditions signal,”

etc.). Rather, the advance is the mathematical calculation. This is insufficient to

plead an “inventive concept” under Alice step 2. See, e.g., Hawk Technology Systems,

LLC v. Castle Retail, LLC, 60 F.4th 1349, 1356-58 (Fed. Cir. 2023) (claims in patent

for method for viewing multiple simultaneous videos from surveillance system lacked

elements sufficient to transform claims into patent-eligible application, and thus

failed second step of Alice test for examining patent eligibility, where claims only used

generic functional language, and nothing in claims, understood in light of

specification, required anything other than off-the-shelf, conventional computer,

network, and display technology for gathering, sending, and presenting desired

information); Audio Evolution Diagnostics, Inc. v. United States, 160 Fed. Cl. 513,

526-27 (Fed. Cl. 2022) (patents for digital stethoscope, which were directed to abstract

idea of collecting, analyzing, manipulating, and displaying data, lacked inventive

concept sufficient to transform abstract idea into patent-eligible subject matter;

patent assignee did not recite specific, plausible factual allegations sufficient to

ensure that patents in practice amounted to significantly more than abstract idea

itself or more than application of conventional and well-understood techniques).



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      The ‘482 patent: According to MMT, “each claim limitation of Claim 9

operates together to achieve an unconventional method for measuring power

consumption and performance with respect to the environment of a power-consuming

unit that takes advantage of an unconventional and novel use of power consumption

measurements, flow meters for liquids or gases, voltmeters or scales for measuring

waste to exceed conventional techniques in measuring ecological parameters of a

powered unit.” [Dkt. 54 at 16.] Despite using the words “unconventional” and “novel,”

MMT identifies nothing in the specifications or complaint that suggest there is

anything inventive about the claimed method other than the formula for calculating

the ecological parameter. Claim 9 simply “append[s] conventional steps, specified at

a high level of generality”—”receiving a first power consumption value of a power

consuming unit,” “receiving a waste production data value”—to an abstract idea, the

calculation of an ecological parameter. Mayo, 566 U.S. at 82. “The abstract idea itself

cannot supply the inventive concept, no matter how groundbreaking the advance.”

Trading Technologies Int’l, Inc. v. IBG LLC, 921 F.3d 1084, 1093 (Fed. Cir. 2019).

      The ‘260 patent: MMT argues that for the ‘260 Patent, “each claim limitation

of Claim 11 operates together to achieve an unconventional method of testing

integrity of an electronic throttle place driver disable function controlled by a

powertrain control module (PCM) that takes advantage of drive electronics and

position voltage sensors to exceed conventional techniques not to intrude on normal

throttle operation while verifying function integrity at least once each time the




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vehicle is powered up.” [Dkt. 54 at 15.] Labeling a method unconventional, however,

does not satisfy Alice step 2.

      Bascom Global Internet Services, Inc. v. AT&T Mobility LLC, 827 F.3d 1341,

1348 (Fed. Cir. 2016), on which MMT relies, involved a method for filtering Internet

content. [See Dkt. 54 at 14-15.] The claims at issue in Bascom failed at Alice step 1

because “filtering content is an abstract idea”—“a longstanding, well-known method

of organizing human behavior, similar to concepts previously found to be abstract.”

Bascom, 827 F.3d at 1348. But the appellate court concluded that the district court

erred by dismissing the infringement claim at Alice step 2. The “inventive concept

described and claimed in the … patent [was] the installation of a filtering tool at a

specific location, remote from the end-users”—a remote Internet Service Provider

(“ISP”) server—”with customizable filtering features specific to each end user.”

Bascom, 827 F.3d at 1350. The plaintiff explained that the claimed method’s

“inventive concept rests on taking advantage of the ability of at least some ISPs to

identify individual accounts that communicate with the ISP server, and to associate

a request for Internet content with a specific individual account.” Id. This was an

improvement because “prior art filters were either susceptible to hacking and

dependent on local hardware and software, or confined to an inflexible one-size-fits-

all scheme.” Id. Construing the claim in favor of the plaintiff (as the non-movant) the

Court concluded that the claims could plausibly “be read to ‘improve[ ] an existing

technological process.’” Id. at 1350-51.




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      Here, by contrast, the only inventive concept that MMT identifies in the ‘260

patent is using conventional and known “drive electronics and position voltage

sensors” to gather the data inputs for an abstract calculation—the comparison the

throttle position voltage to a predetermined default position voltage to determine if

there is a significant difference. This is insufficient: under Alice step 2, the ineligible

concept—the calculation using a comparison of values—“cannot supply the inventive

concept that renders the invention ‘significantly more than that ineligible concept.’”

Simio, LLC v. FlexSim Software Products, Inc., 983 F.3d 1353, 1363 (Fed. Cir. 2020).

What MMT is lacking in its claim as currently pled is “an inventive concept in the

non-abstract application realm.” SAP, 898 F.3d at 1168; see also Simio, 983 F.3d at

1364 (claims of patent for method of creating computer simulations using graphical

process descriptions, whether individually or as an ordered combination, lacked an

inventive concept and thus, did not transform abstract idea of using graphics instead

of programming to create object-oriented simulations into patent-eligible invention;

the allegedly inventive concept was a claim for new abstract idea, a purportedly novel

executable-process limitation, which was implemented by using conventional and

well-understood techniques); Hawk Technology Systems, 60 F.4th at 1358-59.

      For these reasons, the Court agrees with BMW NA that the asserted claims of

the ‘540, ‘260 and ‘482 patents are unpatentable under 35 U.S.C. § 101.

             2.     Compliance with Marking Statute

      BMW NA also seeks dismissal on the basis that MMT’s complaint does not

plead compliance with the Patent Act’s marking requirement. Specifically, BMW NA



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argues that MMT’s failure to mark would dispose of several of the asserted patents, 3

and would limit one patent’s damages to a tiny window of time. According to BMW

NA, the ‘565 patent expired before MMT filed suit, and the ‘122 patent expired August

7, 2022, 16 days after MMT filed suit. Because MMT cannot plead compliance with

the marking statute, BMW NA claims that MMT cannot recover pre-suit damages for

the expired ‘565 patent, and the potential damages related to the ‘122 patent are de

minimis. [Dkt. 41 at 18.]

        The marking statute, 35 U.S.C. § 287(a), provides that “[p]atentees, and

persons making, offering for sale, or selling within the United States any patented

article for or under them, or importing any patented article into the United States,

may give notice to the public that the same is patented,” by physically marking the

article in the manner specified in the statute. If the plaintiff fails to mark in

compliance with the statute, it is entitled only to damages incurred after the

infringement action was filed. See Arctic Cat Inc. v. Bombardier Recreational

Products Inc., 876 F.3d 1350, 1366 (Fed. Cir. 2017). “The patentee bears the burden

of pleading and proving he complied with § 287(a)’s marking requirement.” Id. (citing

Maxwell v. J. Baker, Inc., 86 F.3d 1098, 1111 (Fed. Cir. 1996)).

        In response to the motion to dismiss, MMT does not contend that it ever

marked any articles with its asserted patents, in compliance with the marking

statute. Instead, MMT argues that it was not required to mark because it is asserting



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       BMW NA makes this same argument as to the ‘260 and ‘482 patents, but for the
reasons discussed above, the Court has already concluded that these patents are directed at
subject matter that is not patent eligible as a matter of law under Alice.
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only method claims in its governing complaint. [See Dkt. 54 at 17.] MMT also argues

that it was not required to comply with the marking statute because it never practiced

the method claims of the asserted patents. In its reply brief, BMW NA argues that

“Federal Circuit precedent suggests that pleading compliance with the marking

statute is required where, as here, a patent contains both method and non-method

claims.” [Dkt. 59 at 13.] BMW NA does not respond to MMT’s argument that it has

not practiced the method claims of the asserted patents.

      The parties’ disagreement on whether marking is required for MMT’s method

claims arises from two competing lines of Federal Circuit cases. MMT relies on

Hanson v. Alpine Valley Ski Area, Inc., 718 F.2d 1075 (Fed. Cir. 1983), and Crown

Packaging Technology, Inc. v. Rexam Beverage Can Co., 559 F.3d 1308, 1316–17 (Fed.

Cir. 2009), which held that the notice provisions of § 287 do not apply where “the

patentee [has] only asserted the method claims of a patent which include[s] both

method and apparatus claims.” Id. (citing Hanson, 718 F.2d at 1082-83). BMW NA

relies instead on American Medical Systems, Inc. v. Medical Engineering Corp., 6 F.3d

1523 (Fed. Cir. 1993), which held that “[w]here the patent contains both apparatus

and method claims, … to the extent that there is a tangible item to mark by which

notice of the asserted method claims can be given, a party is obliged to do so if it

intends to avail itself of the constructive notice provisions of section 287(a).” Id. at

1538-89.

      American Medical must be read in light of Crown Packaging, which

distinguished the former case on the basis that the patentee there asserted both



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apparatus and method claims of the patent at issue. See Crown Packaging, 559 F.3d

at 13116-17. Defendant also cites ActiveVideo Networks, Inc. v. Verizon

Communications, Inc., 694 F.3d 1312, 1334 (Fed. Cir. 2012), in which the Federal

Circuit quoted American Medical for the proposition that “[t]he demarcation lines

have been clear for many years: patents with only method claims do not require

marking whereas patents with apparatus claims do.” ActiveVideo does not mention

Crown Packaging and denied the request to “extend the marking requirement to

patents with nothing but method claims, if the patentee also asserts other patents

with apparatus claims embodying the same invention in the same litigation.”

ActiveVideo, 694 F.3d at 1335. As in American Medical, the asserted patent in

ActiveVideo contained only method claims. See Core Optical Technologies, LLC v.

Nokia Corporation, 2020 WL 6126285, at *6 (C.D. Cal. Oct. 8, 2020).

      Courts attempting to read these cases in harmony have continued to hold

based on Crown Packaging that where a patent contains both method and apparatus

claims, but the patentee asserts only the method claims, the marking statute does

not apply. See Infernal Technology, LLC v. Ubisoft, Inc., 2021 WL 4037835, at *3

(E.D.N.C. Sept. 3, 2021) (“The marking statute’s applicability also depends on what

the plaintiff asserts in the complaint. When a patent contains both process or method

claims and some other kind of claim (such as an apparatus claim), the marking

statute applies differently when the patentee asserts infringement of the process or

method as opposed to infringement of all the patent’s claims.”); Carnegie Mellon

University v. Marvell Technology Group, Ltd., 906 F. Supp. 2d 399, 406 (W.D. Pa.



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2012) (“If the apparatus claims have not been asserted in the litigation, § 287(a) does

not apply and marking of the asserted method claims is unnecessary for a party to

claim damages for the entire period of infringement”); Core Optical Technologies, LLC

v. Nokia Corp., 2020 WL 6126285, at *5 (C.D. Cal. Oct. 8, 2020) (applying Crown

Packaging).

      Here, the governing Second Amended Complaint asserts only the method

claims of the patents in issue. But the application of the case law is complicated by

the fact that in the earlier iterations of its complaint, MMT did assert the apparatus

claims of the patents in issue. Indeed, in its motion for leave to file the Second

Amended Complaint, MMT explained that it amended the complaint for the express

purpose of avoiding the marking statute by “chang[ing] its assertion of infringement

to only method claims.” [Dkt. 35 at 2.] Crown Packaging says nothing about whether

a patentee can avoid the patent marking statute by dropping any instrumentality

claims mid-litigation.

      At least two other district courts have confronted a similar factual scenario and

refused to allow a patentee to drop instrumentality claims to avoid the patent

marking statute. In Huawei Technologies Co. Ltd v. T-Mobile US, Inc., 2017 WL

5165606 (E.D. Tex. E.D. Tex. Oct. 15, 2017), the patent holder argued that the patent

marking statute did not apply to the patent-in-suit because it was “currently

asserting only method claims.” Huwai, 2017 WL 5165606, at *2. The court rejected

this argument, concluding that the plaintiff was “not insulated by Crown Packaging,

which at most only restricts application of the marking statute in instances where a



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patent holder never asserted apparatus claims.” Huwai, 2017 WL 5165606, at *3.

“[A]pparatus claims were asserted, so the marking requirement [was] not excused.”

Id. at *3 (citing Unwired Planet, LLC v. Apple Inc., 2017 WL 1175379, at *4 (N.D.

Cal. Feb. 14, 2017); Carnegie Mellon Univ. v. Marvell Tech. Grp., Ltd., 906 F. Supp.

2d 399, 407 (W.D. Pa. 2012); Mformation Techs., Inc. v. Research in Motion Ltd., 830

F. Supp. 2d 815, 838 (N.D. Cal. 2011)). Likewise, in Siemens Mobility Inc. v.

Westinghouse Air Brake Technologies Corp., 2018 WL 7893901 (D. Del. Dec. 17, 2018),

the court concluded that the marking statute was applicable to the plaintiff’s patent

because the plaintiff “initially asserted an apparatus claim from the [operative]

patent.” Id. at *4 (citing Huwai, 2017 WL 5165606, at *2-3).

      The Court finds these opinions persuasive. They recognize Crown Packaging’s

narrow exception for cases where only method claims are “asserted,” but discourage

gamesmanship designed to avoid the patent marking statute once a defendant moves

to limit pre-suit damages. These decisions are also consistent with the Federal

Circuit’s opinion in Rembrandt Wireless Technologies, LP v. Samsung Electronics Co.,

Ltd., 853 F.3d 1370, 1383-84 (Fed. Cir. 2017), which rejected a patentee’s attempt to

avoid the marking statute by disclaiming a patent claim embodied in an unmarked

product. The Rembrandt court reasoned that allowing a disclaimer to relieve the

patentee of its marking obligation was irreconcilable with the marking statute’s

purpose of protecting the public’s ability to exploit an unmarked product’s features

without liability for damages. Id. The same considerations apply to MMT’s attempt

to avoid the requirements of the marking statute by amending its complaint. Because



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the apparatus claims were once asserted, the marking requirement is not excused. In

its current form, MMT cannot recover pre-suit damages for the expired ’565 patent,

and pre-suit damages for the ’122 patent are limited to 16 days.

      This is not quite the end of the inquiry, however. In the very last substantive

paragraph of its brief, MMT says it was not required to comply with the marking

statute for the additional reason that “MMT never practiced the method claims of the

Asserted Patents.” [See Dkt. 54 at 17.] BMW NA’s reply brief does not address this

statement.

      It is true that the marking statute would not foreclose pre-suit damages if

MMT and its licensees never practiced any of the claims of the asserted patents, as

there would be no articles to mark. Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1332

(Fed. Cir. 2010) (“If a plaintiff practices the claimed invention and fails to mark its

product with the relevant patent number, damages may be limited [by the marking

statute.]” (emphasis added)). And the marking statute might not foreclose pre-suit

damages if MMT and its licensees never practiced the asserted method claims of the

relevant patents but have practiced other claims of the patents—although that does

not appear to be a legal question that is clearly settled. See Rembrandt, 853 F.3d at

1384 (noting that “[t]he patent-by-patent versus claim-by-claim marking dispute

between the parties raises a novel legal issue not squarely addressed by our past

decisions” and remanding to the district court to consider issue in the first instance);

Huawei, 2017 WL 4183103, at *3 (stating in dicta but not deciding that “a logical




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interpretation of the statute is that a patentee must mark any product covered by

any claim of the asserted patent”).]

      Although MMT makes this practice assertion in its brief, the fact remains that

its argument is not supported by any well-pled allegations in the Second Amended

Complaint. The SAC does not specify whether MMT (or its licensees, if any) ever

practiced the method claims of the asserted patents. Nor does it specify whether MMT

(or its licensees, if any) ever practiced any of the claims of the asserted patents

(including any instrumentality claims). As a result, dismissal remains appropriate,

though MMT is given leave to amend to address this issue, if it wishes to do so.

IV.   Conclusion

      For all these reasons, BMW AG’s motion to dismiss is granted in part and

denied in part. [Dkt. 42]. MMT has until December 1, 2023, to effect service on BMW

AG under the Hague Service Convention. Until personal jurisdiction has been

established, the Court “need not and should not” reach BMW AG’s Rule 12(b)(6)

grounds for dismissal. See Rawlins v. Select Specialty Hospital, 2014 WL 1647182, at

*6 (N.D. Ill. Apr. 23, 2014); see also United States v. Park, 389 F. Supp. 3d 561, 567

(N.D. Ill. 2019) (“Where there has been insufficient process, the Court does not have

personal jurisdiction over a defendant.”) BMW AG’s motion is otherwise denied.

      BMW NA’s motion to dismiss the Second Amended Complaint is granted in

part and denied in part. [Dkt. 40]. Counts I, IV and VI, which raise claims for

infringement of the asserted claims of the ‘540, ‘260 and ‘482 patents respectively, are

directed at subject matter that is not patent eligible as a matter of law. Leave to



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amend would be futile, so the dismissal is with prejudice. See Maxon, LLC v. Funai

Corp., Inc., 255 F.Supp.3d 711, 722 (N.D. Ill. May 23, 2017); Snowcast Solutions, LLC

v. Endurance Specialty Holdings, Ltd., 2016 WL 1161299, *6 (N.D. Ill. Mar. 23, 2016).

Count II does not plausibly allege that MMT is entitled to pre-suit damages for the

‘565 patent under the marking statute. Count V does not allege more than sixteen

days of pre-suit damages for the ‘122 patent under the marking statute. Count III as

to the ‘574 patent remains undisturbed. Because the marking deficiency might be

cured through an amended pleading, MMT is given leave to do so.

Enter: 22cv3804
Date: July 21, 2023

                                       __________________________________________
                                       Lindsay C. Jenkins
                                       United States District Judge




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